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           EXHIBIT A
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                       IN THE CIRCUIT COURT OF THE NINTH JUDICIAL CIRCUIT
                               IN AND FOR ORANGE COUNTY, FLORIDA

         KATHLEEN DIAL, AS PERSONAL                          CASE NO.
         REPRESENTATIVE OF THE ESTATE
         OF MARGARET P. CALDWELL,                            JURY TRIAL DEMANDED
         individually and on behalf of all others
         similarly situated

                                                Plaintiff,

         v.



         FUEGO SMOKE & VAPE LLC,
         MANKI INVESTMENTS LLC,
         HYWAZE LLC,
         OUTER LIMITS SALES TWO LLC,
         A&A SMOKE SHOP LLC, PUFFZILLA
         LLC, and
         GIVINGO LLC,
         individually and as representatives of a
         defendant class,

                                                      and

         PLUTO BRANDS, LLC, GALAXY GAS,
         LLC, DIMO HEMP LLC, FUSION
         INTERNATIONAL TRADING, LLC,
         UNITED BRANDS, INC., SWEET AND
         SOUR HOLDINGS LLC, MONSTER
         GAS, INC., and BAKING BAD GROUP,
         INC.

                                             Defendants



                       Plaintiff, Kathleen Dial, as the personal representative of the Estate of Margaret P.

        Caldwell ("Plaintiff), individually and on behalf of all others similarly situated, brings this

        Class Action Complaint ("Complaint") against Defendants Fuego Smoke & Vape LLC, Manki

        Investments LLC, Hywaze LLC, Outer Limits Sales Two LLC, A&A Smoke Shop, Puffzilla

        LLC, and Givingo LLC (collectively "Smoke Shop Defendants"), individually, and as
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  representatives of a defendant class, and against Pluto Brands, LLC Galaxy Gas, LLC (together,

  "Galaxy"), Dimo Hemp LLC and Fusion International Trading, LLC (together, "Looper") United

  Brands, Inc., Sweet And Sour Holdings LLC, Monster Gas, Inc., and Baking Bad Group, Inc.

  (together, "Manufacturer Defendants," and together with Smoke Shop Defendants,

  "Defendants"), and alleges as follows:

                                           INTRODUCTION

          2.      This putative class action arises from Manufacturer Defendantsmanufacturing,

  importation and marketing, and Smoke Shop Defendants' retailing of nitrous oxide canisters and

  accessories for inhalation and recreational use   ("N-0 Products") to the public. The sale of N-0
  Products to consumers, including marketing to minors and other vulnerable populations, has

  resulted in a veritable national health crisis.

                  Manufacturer Defendants manufacture, import and market, and Smoke Shop

  Defendants sell, N-0 Products specifically to consumers     who are likely to use N-0 Products

  recreationally, by inhaling the nitrous oxide gas and abusing it as a recreational drug.

          4.      Manufacturer Defendants' products come      in enticing flavors such as "mango

  smoothie', "vanilla raspberry", and in package sizes that make them impractical for use in the

  kitchen, but consistent with tobacco, vaping and other products consumed through inhalation.

                  Most importantly, N-0 Products are distributed through smoke shops, such as

  Smoke Shop Defendants, rather than restaurant supply stores, betraying Manufacturer

  Defendants' true intent in marketing these items for inhalation and use   as a recreational drug,


  rather than cooking. It cannot be argued that the sale of N-0 Products through smoke shops is

  for culinary purposes. A smoke shop, which includes "headshops," by definition is a retailer

  selling products for inhalation and smoking equipment.




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          6.      Manufacturer Defendants also market their N-0 Products heavily on social media,

  including by engaging private social media influencers, a practice inconsistent with selling either

  medical or culinary products. Smoke Shop Defendants then sell N-0 Products to their patrons,

  knowing full well they are not seeking these items to cook, but rather to abuse as a recreational

  drug. In short, Defendants knowingly manufacture and distribute products that result in

  addiction and cause grievous bodily harm to the public.

          7.      By bringing this action, Plaintiff and Class Members seek to: (i) remedy

  Manufacturer Defendantspast improper and unlawful conduct by recovering damages to which

  Plaintiffs and Class Members are rightfully entitled; and (ii) enjoin Smoke Shop Defendants and

  other Defendant Class Members from selling N-0 Products.


                                                   PARTIES


          8.      Margaret P. Caldwell, deceased ("Margaret"), was at all times relevant to this

  action a citizen of Florida, residing in Lake County, Florida. Margaret was enticed to purchase

  N-0 Products by Manufacturer Defendants' advertising which portrayed them as visually

  attractive and safe to use.   Margaret purchased N-0 Products at each of the Smoke Shop

  Defendants. Margaret became addicted to N-0 Products, suffered severe       health consequences,

  and ultimately succumbed to her addiction. This action is brought by the personal representative

  of Margaret's estate.

          9.      Defendant Fuego Smoke & Vape LLC is a retailer of tobacco products and

  accessories, operating a retail location under the name   "Fuego Smoke & Vape', at 2575 State Rte

  50, #B, Clermont, FL. Defendant Fuego Smoke & Vape LLC sold N-0 Products to Margaret.

          10.     Defendant Manki Investments LLC is a retailer of tobacco products and

  accessories, operating, among others, a retail location under the name   "Just Smoke," at 13809



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  County Rd 455 #102, Clermont, FL 34711. Defendant Manki Investments LLC sold N-0

  Products to Margaret.

         11.    Defendant Hywaze LLC is a retailer of tobacco products and accessories,

  operating a retail location under the name "Hywaze Smoke Shop", at 663 SR 50, Clermont, FL.

  Defendant Hywaze LLC sold N-0 Products to Margaret.

         12.    Defendant Outer Limits Sales Two LLC is a retailer of tobacco products and

  accessories, operating a retail location under the name "Outer Limits Smoke Shop", at 12348

  Roper Blvd, Clermont, Florida. Defendant Outer Limits Sales Two LLC sold N-0 Products to

  Margaret.

         13.    Defendant A&A Smoke Shop is a retailer of tobacco products and accessories,

  operating a retail location under the name "Clermont Smoke Shop", at 4420 S Hwy 27, #7,

  Clermont, FL, 34711. Defendant A&A Smoke Shop sold N-0 Products to Margaret.

         14.    Defendant Puffzilla LLC is a retailer of tobacco products and accessories,

  operating a retail location under the name "Puffzilla Smoke Shop" in Orange County, Florida, at

  9000 S Orange Blossom Trail Suite C, Orlando, FL 32809. Defendant Puffzilla LLC sold N-0

  Products to Margaret.

         15.    Defendant Givingo LLC is a retailer of tobacco products and accessories in

  Orange County, Florida, operating a retail location under the name "Moe's Smoke Shop", at

  4079 S. Goldenrod Road, Orlando, FL 32822. Defendant Givingo LLC sold N-0 Products to

  Margaret.

         16.    Defendant Galaxy Gas LLC is a Georgia limited liability company, with its

  principal address registered as: PO Box 2630, Kennesaw, GA, 30156, USA. At all material




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  times, Galaxy Gas LLC manufactured, designed, distributed to tobacco and marijuana retailers,

  sold directly to consumers, and oversaw       the marketing of N-0 Products.

          17.      Defendant Pluto Brands, LLC is a Delaware corporation and the owner of Galaxy

  Gas LLC.1

          18.      Defendant Dimo Hemp LLC ("Dimo") is a distributor of CBD products, vape

  products and nitrous oxide tanks under the brand "Looper Whip". Looper is headquartered at:

  8549 Wilshire Blvd, #5134, Beverly Hills, CA 90211.

          19.      Defendant Fusion International Trading, LLC (together with Dimo, "Looper") is

  the manufacturer of nitrous oxide tanks under the brand "Looper Whip". Fusion International


  Trading Co. Ltd. is located in Shanghai, China, at the address: RM1314, NO 258

  Shanghai, SH, China, 201102. It also has a corporate office in Los Angeles, California.

          20.      Defendant United Brands, Inc. is a manufacturer of CBD products, vape products

  and nitrous oxide tanks. United Brands, Inc. is headquartered at: 120 Sierra Azule, Los Gatos,

  CA 95032.

          21.      Defendant Sweet and Sour Holdings, LLC is a manufacturer of CBD products,

  vape products and nitrous oxide tanks under the brand "Cosmic Gas." It is headquartered at: 800

  N. Rainbow Blvd, Ste 208, Las Vegas, NV 89107.

          22.      Defendant Monster Gas, Inc. is a manufacturer of CBD products, vape products

  and nitrous oxide tanks. It is headquartered at: 9171 Wilshire Blvd, Ste 500 B4, Beverly Hills,

  CA 90210.




  'Alex Clark, "The 'Galaxy Gastrend whipping up controversy on social media", CBS News (October 10, 2024),
  https://www.cbsnews.com/news/galaxy-gas-nitrous-oxide-social-media-controversy/ (last accessed January 11,
  2025).


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            23.     Defendant Baking Bad Group, Inc. is a manufacturer of CBD products, vape

  products and nitrous oxide tanks. It is headquartered at: Suite 16289, 1635 Market St,

  Philadelphia, PA 19103.


                                     JURISDICTION         AND VENUE


            24.     The Court has subject matter jurisdiction over Plaintiffsclaims under Florida

  Stat.§26.012 and §86.011. This Court has jurisdiction over      this dispute because this complaint

  seeks damages over     $50,000.00, exclusive of interest and attorneys' fees.

              25.   The Court has personal jurisdiction over   each Defendant because under Florida

   Stat. §48.193, each Defendant personally or through its agents operated, conducted, engaged in,

   or   carried on a business or business venture in Florida; committed tortious acts in Florida; the

   Smoke Shop Defendants maintain retail premises in Florida, and because each Defendant


   engaged in significant business activity within Florida.

            26.     Venue is proper in Orange County under Florida Stat. § 47.011 and § 47.051

  because Defendants each do business in this county, the causes      of action accrued in this county.


                                        STATEMENT OF FACTS


            27.     First synthesized in 1772 by the English chemist Joseph Priestly, nitrous oxide,

  sometimes known as "laughing gas", is an old drug. It has a number of legitimate uses,

  including for anesthesia in medicine, in the automotive industry, and as a whipping agent in




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  cooking. It is also a popular but dangerous recreational drug. Its popularity was reignited by

  social media.

          28.      Nitrous oxide is a popular recreational drug because, when inhaled, it is known

  for its dissociative effects. Users may also feel euphoria or the sensation of floating.2 However,

  the recreational use of nitrous oxide is associated with addiction and a variety of debilitating and

  fatal conditions. Prolonged use of nitrous oxide can have disabling neurological sequelae due to

  functional inactivation of vitamin B12.3 Depletion of the B12 supply can cause dementia,

  imbalance and paralysis.4

          29.      Frequent, high-dose use of nitrous oxide displaces oxygen available in the lungs,

  which can result in asphyxiation that leads to brain damage or death.5 This concern              is especially

  acute when the gas is misused or abused by individuals who are neither trained in safe handling,

  nor possess appropriate clinical delivery systems or oxygen monitoring sensors.


          30.      A recent CBS News report quoted Dr. Madeline Renny, a pediatric emergency

  medicine physician at Mount Sinai Health System in New York City describing nitrous oxide's

  effect on the body as follows: "There can be a range of symptoms, from headache,

  lightheadedness, palpitations, passing out and then, in some cases, death." Dr. Renny warned




  2
   Lindsi Filippi, BA and Nicholas Pratt, MD, RN, "Galaxy Gas: The Dangerous Viral Trene, Psychiatric Times
  (September 24, 2024), https://www.psychiatrictimes.com/view/galaxy-gas-the-dangerous-viral-trend (last accessed
  January 11, 2025).
  3
    Alexander G. Thompson, et al., "Whippits, nitrous oxide and the dangers of legal highs", Pract Neurol. 2015
  Jun;15(3):207-209 (last accessed January 11, 2025).
  4
    YouTube, "Paralyzed by Addiction: A Young Woman's Fight with Nitrous Oxide Abuse Supplying a High Part
                                                                                        —                   —




  Twe', https://www.youtube.com/watch?v=QBv-lnMqfGo (last accessed June 23, 2025).
  5
    Madeline Hodgman-Korth, "Nitrous Oxide (Whippet) Abuse, Side Effects & Treatment", American Addiction
  Centers (December 31, 2024), https://americanaddictioncenters.org/inhalant-abuse/nitrous-oxide-whippets (last
  accessed January 12, 2025).



                                                         7
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  that even   a single use   of the nitrous oxide gas as a recreational drug could lead to significant

  health concerns    or even   prove fata1.6

          31.       In the U.K., a college student who inhaled two to three "big bottles" of nitrous

  oxide a day died as a result of "long-term complications of nitrous oxide use. In reporting on

  this case, the BBC quoted senior coroner         Heidi Connor who emphasized that the student's death

  "has highlighted how hugely dangerous it is to use nitrous oxide."'

          32.       Due to flashy marketing aimed at youth and other vulnerable populations, nitrous

  oxide's popularity as a recreational drug is growing. The market for nitrous oxide is projected to

  reach 3.19 billion dollars by 2033.8

          33.       As a result of Manufacturing Defendant Galaxy's prominent position in the N-0

  Product market, all nitrous oxide products consumed as recreational drugs are sometimes

  colloquially referred to as "Galaxy Gas." According to the Psychiatric Times, "[s]earching for

  Galaxy Gas on popular social media platforms such as TikTok, Instagram, and YouTube reveals

  posts with millions of interactions."9

          34.       The availability of different flavors, in particular, makes N-0 Products appealing

  to kids, according to Dr. Gail Saltz, a clinical associate professor of psychiatry at Weill Cornell

  Medical College at Cornell University.1° Tulane University Professor Patrick Bordnick, who



  6
     Alex Clark, "The 'Galaxy Gastrend whipping up controversy on social media", CBS News (October 10, 2024),
  https://www.cbsnews.com/news/galaxy-gas-nitrous-oxide-social-media-controversy/ (last accessed January 11,
  2025).
     "Laughing gas abuse caused student's death Berkshire coroner (April 10, 2024), https://www.bbc.com/news/uk-
  7
                                               —




  england-berkshire-68783880 (last accessed January 11, 2025).
  8
     "The Growing Problem in the Nitrous Oxide Industry", Youtube, https://www.youtube.com/watch?v=o51z4v-Z0zY
  (last accessed January 23, 2025).
  9
     Lindsi Filippi, BA and Nicholas Pratt, MD, RN, "Galaxy Gas: The Dangerous Viral Trene, Psychiatric Times
  (September 24, 2024), https://www.psychiatrictimes.com/view/galaxy-gas-the-dangerous-viral-trend (last accessed
  January 11, 2025).
  10
      Kristen Rogers, "Kids are inhaling 'Galaxy Gas' to get high. Here's what parents should know." (September 25,
  2024), ABC7 News, https://abc7.com/post/nitrous-oxide-galaxy-gas-kids-are-inhaling-products-whipped-cream-
  chargers-sold-company-get-higb/15344621/ (last accessed January 11, 2025).


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   researches substance addiction, says employing colorful designs and flavors such as "cotton


   candy and "blue raspberry is a marketing effort aimed at catching the attention of young people,
   and creates a false idea "that this isn't a harmful thing. [...] We're creating flavors and packaging

   and things that clearly target non-chefs."11

              35.     Nitrous oxide abuse has been "rapidly risine throughout the United States and

   the United Kingdom, according to a March 2018 study. Among people ages 16 to 24 in Britain                       -




   where possession is now illegal        -
                                              nitrous oxide use was second only to cannabis in 2020. A

   similar spike was observed in the Netherlands, leading to a rising number of young people

   arriving at the hospital with neurological complaints.12 In the U.S., in 2018, about 12.5 million

   Americans over age 12 reported having ever used nitrous oxide. This number rose to nearly 14

   million in 2022.13

              36.      In addition, recreational nitrous oxide consumption leads to a variety of deadly

   accidents. In 2023, a Missouri jury found United Brands, a nitrous oxide manufacturer, liable for


   conspiring to sell nitrous oxide as a drug. The company was ordered to pay $720 million to the

   family of Marissa Politte, a young woman           killed by a driver intoxicated on nitrous oxide, for her

   wrongful death.14

              37.      Perhaps most concerning, Manufacturer Defendants now market their products in

   large size packages, some exceeding 1 liter, which is inconsistent with any culinary use (but




   11
        Rachel Hale, "College kids, an old drug, and why it's everywhere agaie USA Today (January 14, 2025),
   https://www.usatoday.com/story/life/health-wellness/2025/01/14/why-this-viral-college-drug-trend-is-so-
   dangerous/77676984007/ (last accessed on January 16, 2025).
   12
      Id.
   13
      Amogh Dimri, "The Illegal Drug at Every Corner Store', The Atlantic, (February 3, 2025),
   https://www.theatlantic.com/ideas/archive/2025/02/nitrous-oxide-drug-loophole/681532/?gift=BcDsg0-
   eifNnEYjlx9oWdv3HE6caBHw2FJvC2-40Fw8 (last accessed on February 4, 2025).
   l'AP, "Missouri jury awards $745 million in death of woman struck by driver who used inhalants" (September 11,
   2023), https://www.wjhl.com/news/national/ap-missouri-jury-awards-745-million-in-death-of-woman-struck-by-
   driver-who-used-inhalants/ (last accessed on February 4, 2025).


                                                            9
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   consistent with recreational drug use). When confronted with this inconsistency by a CBS

   interviewer, Megan Paquin, a spokesperson for Defendant Galaxy, stated that the large-volume

  N-0 Products were "intended as an 'erotic culinary lubricantand that some people may require

   that much for their purposes."15 In truth, Manufacturer Defendants manufacture and market

   large-volume N-0 Products in order to facilitate the addiction through inhalation of such

  products among its customers.

              38.     Notably, Fla. Stat. §877.111(4) makes it a felony to knowingly distribute or sell

   more     than 16 grams of nitrous oxide. Most, if not all, of the purchases Margaret made were of


  products that contained more than 16 grams of nitrous oxide. Furthermore, this statutory

   limitation does not apply on a per-canister basis, but rather in the aggregate. Therefore,

   distributing or selling a box of canisters which, in the aggregate, contain more than 16 grams of

   nitrous oxide, which each of Defendants has done, is a felony.

              39.      It is also unlawful, in Florida, to misbrand or adulterate any drug device, or

   cosmetic, or otherwise render it unfit for human or animal use. Fla. Stat. §499.005(1) and (2). In

   selling N-0 Products in large canisters, with added food flavors and colorful packaging,

   Manufacturer Defendants misbranded and adulterated nitrous oxide gas, a dangerous chemical,

   and attempted to present it as a food additive, when it is in fact a dangerous and addictive drug

   consumed by inhalation. Selling N-0 Products in large canisters of more than 16 grams renders

   them unfit for human use.

              40.      Manufacturer Defendants choose to distribute their products through smoke

   shops, where they are sold alongside tobacco, synthetic marijuana and/or vaping supplies and




   15
        Alex Clark, "The 'Galaxy Gas' trend whipping up controversy on social media", CBS News (October 10, 2024),
   https://www.cbsnews.com/news/galaxy-gas-nitrous-oxide-social-media-controversy/ (last accessed January 11,
   2025).


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  paraphernalia and explicitly marketed to recreational users for inhalation rather than cooking.

   According to 11 Alive, an Atlanta news station, "[Defendant Galaxy] also created flavored

  Nitrogen Oxide, which is sold in a variety of containers. You only have to be 18 to buy Nitrogen

   Oxide, and you can find it in vape shops and even convenience stores. On Thursday, 11 Alive

   found it in a local gas station in the same case as vapes."16

           41.      The visually attractive designs, along with overwhelming online popularity17 of

   Manufacturer Defendantsproducts attracted the attention of celebrities, including singer SZA,

   who tweeted about its impact on black children in particular, referring to Manufacturer

   Defendants' "childlike designs and marketine:

           "Sorry to be old n annoying but.. Is no one gonna talk about how galaxy gas came out of
           no where and is being MASS marketed to black children? the government is doing

           NOTHING ? since when are we selling whip its at the store ???? Somebody protect the
                               ..




           children," she wrote. "Something about the childlike designs and marketing is so
           spooky like stars and bright colors? you tryna entice the kids on purpose?"18
                          ..




           (Emphasis added).

           42.      In short, Manufacturer Defendants manufacture or import, and then market and

   sell, and Smoke Shop Defendants retail N-0 Products which are explicitly aimed at recreational

   users, promoted for their potential to produce a "high" when inhaled. These products have

   caused widespread addiction, death and severe         bodily harm, and have resulted in a veritable

  public health crisis.




   16
      Cody Alcorn, "Social media amplifying dangerous trend of huffing Galaxy Gas among young people, 11Alive,
   https://www.11alive.com/article/news/local/social-media-trend-huffmg-galaxy-gas-young-people-whippets/85-
   f3a032ae-e9f2-45e5-ab8d-05b6d341e9f2 (last accessed January 11, 2025).
   17
      Bruce Y. Lee, "What Is Galaxy Gas? Here Is a Dangerous Trend Among Young People Forbes (February 1,
   2025), https://www.forbes.com/sites/brucelee/2025/02/01/what-is-galaxy-gas-here-is-a-dangerous-trend-among-
   young-people/ (last accessed on February 2, 2025).
   18
      https://x.com/sza/status/1836963408152862836. See also: Paige Gawley, "Teens on TikTok Are Using an
   Unexpected Device to Get High", Vice (September 22, 2024), https://www.vice.com/en/article/teens-on-tiktok-are-
   showing-off-a-new-way-to-get-high/ (last accessed January 11, 2025).


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   Florida Smoke Shops Are Numerous and Violations Abound


              43.      Florida has a staggering number of smoke shops, and numerous                  violations of

   criminal statutes and other regulations governing their operation.

              44.      Floridians spent some $410 million in "disposables" (vape products) alone, nearly

   10 times more       than New York, a state of roughly similar population size.19 As of December 1,

   2024, Florida had a staggering 4974 smoke shops,2° of which some                     2523 sold "vaping"

  products.21

              45.      As can be expected with such a large industry, violations of laws governing the

   sales of tobacco and related products are frequent. For instance, in September 2024, "24K


   Miami," a smoke shop in Pembroke Park, Florida, closed its doors after it was discovered to be

   selling illegal items, including marijuana above the permitted concentration limit. Police seized

   illegal items, including mushrooms, gummies, chocolate bars and other candies.22

              46.      In another example of this trend, the sheriff of Volusia County sent an undercover

   deputy to 17 stores in Daytona Beach, Edgewater and other local communities. Nine of those

   stores sold nicotine vapes to the undercover deputy without requesting identification or asking

   their age.23 Two years earlier, in another undercover operation, each of the 17 locations targeted




   19
        Drew Wilson, "Florida Is No. 1 in vape sales, so why aren't retailers celebratingr Florida Politics (May 9, 2024),
   https://floridapolitics.com/archives/673521-florida-is-no-l-in-vape-sales-so-why-arent-retailers-celebrating/ (last
   accessed on January 18, 2025).
   20
      Smartscrapers, "List of Tobacco shops in Florida", https://rentechdigital.com/smartscraper/business-report-
   details/united-states/list-of-tobacco-shops-in-florida (last accessed on January 18, 2025).
   21
      Smartscrapers, "List of Vaporizer stores in Florida", https://rentechdigital.com/smartscraper/business-report-
   details/united-states/list-of-vaporizer-stores-in-florida (last accessed on January 18, 2025).
   22
      Kevin Boulandier, "Police: Pembroke Park smoke shop sold marijuana items that went over legal limit"
   (September 20, 2024), https://wsvn.com/news/local/broward/police-pembroke-park-smoke-shop-sold-marijuana-
   items-that-went-over-legal-limit/ (last accessed on January 18, 2025).
   23
      Volusia Sheriff, "Underage Sale Violations Found at Several East Volusia Vape Stores" (April 15, 2024),
   https://www.volusiasheriff.govinews/volusia-county-sheriff/underage-sale-violations-found-at-several-east-volusia-
   vape-stores.stml (last accessed on January 19, 2025).


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   for enforcement sold either alcohol or nicotine products to an undercover, underage buyer.24

   Sarasota County Sheriff likewise "cited a number of stores for selling to teens."25 The Unified


   County Sherriff's Office in Florida has received information that a tobacco shop named "Smoke

   Paradise near Butler Lake, FL, routinely sold marijuana and marijuana e-cigarettes, which are

   illegal in the state. Surveillance evidence confirmed this suspicion, and the owner                was   arrested

   following a raid.26

           47.      The Smoke Haven Smoke Shop in Lake County was closed after a search warrant

   confirmed that it was selling illegal drugs to minors.27

           48.      In this environment, it is not surprising that many Florida smoke shops sell N-0

   Products, knowing their customers would use them for inhalation, leading to catastrophic

   consequences.

           49.      In the words of a recent report in The Atlantic,"culinary professionals generally

   don't shop for equipment at stores with names like Puff N Stuff or Condom Sense. The true

   clientele inhales the gas to get high. A dangerous and technically illegal drug, nitrous oxide is

   widely available as long as everyone pretends it's destined for use as a food product."28




   24
      Volusia Sheriff, "17 Stores Sell Alcohol Or Nicotine Product to Undercover, Underage Buyer" (February 15,
   2022), https://www.volusiasheriff.gov/news/volusia-county-sheriff/17-stores-sell-alcohol-or-nicotine-product-to-
   undercover-underage-buyer.stml (last accessed on January 19, 2025).
   25
      Kimberly Kuizon, "Stores cited for selling vape products without checking ID" (October 17, 2019),
   https://www.fox13news.com/news/stores-cited-for-selling-vape-products-without-checking-id (last accessed on
   January 19, 2025).
   26
      2First.ai, "Illegal Drug Sales to Minors at Florida E-Cigarette Store(October 8, 2023),
   https://www.2firsts.com/news/illegal-drug-sales-to-minors-at-florida-e-cigarette-store (last accessed on January 19,
   2025).
   27
      ActionNewsJac.xom News Staff, "Union County vape shop closed after search warrant served for selling illegal
   drugs to minors" (October 6, 2023), https://www.actionnewsjax.com/news/local/union-county-vape-shop-closed-by-
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   28
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   Margaret's Tragic Death Was Caused by N-0 Products

          50.     The late Margaret became tragically addicted to N-0 Products as a result of

   Manufacturer Defendantssocial media campaign. She was also enticed to use these products by

   Manufacturer Defendants' advertising and packaging which portrayed them as safe and harmless.

   In 2024, she repeatedly purchased N-0 Products manufactured by Manufacturer Defendants

   from each of the Smoke Shop Defendants.

          51.     Margaret became addicted to Manufacturer Defendants' N-0 Products. In the last

   months of her life, she spent many hours in Smoke Shop Defendants' parking lots while

   consuming these products. Although they were     each aware   of frequent and repeated purchases,

   and some had even criticized her for littering their parking lot with N-0 Product cartridges,

   Smoke Shop Defendants never once prevented her from buying N-0 Products.

          52.     As a result of her addiction to N-0 Products, and their severe and adverse health

   impacts, Margaret passed away on November 22, 2024 behind a smoke shop in Orange County,

   Florida after inhaling N-0 Products purchased from the same smoke shop.


                    CLASS ACTION ALLEGATIONS               —
                                                               PLAINTIFFS CLASS


          53.     Plaintiff brings this class action under the Florida Rules of Civil Procedure

   1.220 individually and on behalf of all members of the following class, including the subclass:

          All individuals residing in the United States who purchased products manufactured by
          Manufacturer Defendants and containing nitrous oxide from smoke shops, meaning
          retailers whose main purpose is the sale of smoking and/or tobacco products, including,
          but not limited to, cigars, pipe tobacco, and smoking accessories for off-premises
          consumption at a retail establishment that either devotes a majority of its total floor area
          to smoking, drug, and/or tobacco paraphernalia including electronic cigarettes, electronic
          vapor devices, and sales nitrous oxide products. ("Class")

          All individuals residing in Florida who purchased products manufactured by
          Manufacturer Defendants and containing nitrous oxide from smoke shops, meaning
          retailers whose main purpose is the sale of smoking and/or tobacco products, including,


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             but not limited to, cigars, pipe tobacco, and smoking accessories for off-premises
             consumption at a retail establishment that either devotes a majority of its total floor area
             to smoking, drug, and/or tobacco paraphernalia including electronic cigarettes, electronic
             vapor devices, and sales nitrous oxide products. (Florida Subclass")

             54.        Excluded from the Plaintiff Class are Defendants, their agents, affiliates, parents,

   subsidiaries, any entity in which Defendants have a controlling interest, any of Defendants'

   officers or directors, any successors, and any Judge who adjudicates this case, including their

   staff and immediate family.

             55.        Certification of Plaintiffs claims for class-wide treatment is appropriate

   because Plaintiff can prove the elements of their claims on class-wide basis using the same

   evidence as would be used to prove those elements in individual actions asserting the same

   claims.

                   a.   Numerosity. Plaintiff is a representative of the Class, consisting of tens of

                        thousands of consumers    who purchased N-0 Products at smoke shops, far too

                        many to join in a single action;

                   b.   Ascertainability. Class Members are readily identifiable from information in

                        Defendantspossession, custody, and control. Defendants have information

                        regarding who purchased N-0 Products. Class Members also have receipts and

                        bank card statements to confirm such purchases;

                   c.   Typicality. Plaintiffs claims are typical of class claims as each arises from the

                        same   misconduct (selling N-0 Products through smoke shops).

                   d.   Adequacy. Plaintiff will fairly and adequately protect the proposed Class's

                        interests. Plaintiffs interests do not conflict with the Class's interests, and

                        Plaintiff has retained counsel experienced in complex class action litigation and




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                      consumer    protection to prosecute this action on the Class's behalf, including as

                      lead counsel.

                 e.   Commonality. Plaintiffs and Class Membersclaims raise predominantly

                      common     fact and legal questions that a class wide proceeding can answer for the

                      Class. Indeed, it will be necessary to answer the following questions:

                           i.   Whether Manufacturer Defendants' sale of N-0 Products through smoke

                                shops is unconscionable, unfair or unlawful;

                          ii. Whether Manufacturer Defendants were unjustly enriched by the sale of

                                N-0 Products through smoke shops;

                         iii.   Whether the sale of N-0 Products through smoke shops caused Plaintiff

                                and Class Members harm;

                         iv.    Whether Plaintiff and Class Members are entitled to damages as against

                                Manufacturer Defendants;

                          v.    Whether Plaintiff and Class Members are entitled to injunctive relief as

                                against Smoke Shop Defendants and Defendant Class (as defined below).

           56.        In short, common    questions of law and fact predominate over any individualized

   questions, and a class action is superior to individual litigation or any other available method

   to fairly and efficiently adjudicate the controversy. The damages available to individual


  plaintiffs are insufficient to make individual lawsuits economically feasible.

                      CLASS ACTION ALLEGATIONS                 —
                                                                   DEFENDANTS' CLASS


           57.        Plaintiff brings this class action under the Florida Rules of Civil Procedure

   1.220 and seeks the certification of the following defendant class ("Defendant Class"):




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          All smoke shops, meaning retailers whose main purpose is the sale of smoking and/or
          tobacco products, including, but not limited to, cigars, pipe tobacco, and smoking
          accessories for off-premises consumption at a retail establishment that either devotes a
          majority of its total floor area to smoking, drug, and/or tobacco paraphernalia including
          electronic cigarettes, electronic vapor devices, and sales nitrous oxide products, located in
          the United States that sold products containing nitrous oxide and manufactured by
          Manufacturer Defendants.

          58.        Certification of Defendant Class is appropriate in respect of the claim for

   declaratory and injunctive relief because the Defendant Class has acted or refused to act on

   grounds that apply generally to the class, so that injunctive relief or corresponding declaratory

   relief is appropriate. Smoke Shop Defendants can prove the elements of their defenses on class-

   wide bases using the same evidence as would be used to prove those elements in individual

   actions asserting the same claims. Further, inconsistent or varying adjudications with respect to

   individual Defendant Class members would establish incompatible standards of conduct and

  preclude effective enforcement of any future injunctive relief:

                a.   Numerosity. Smoke Shop Defendants are representative of the Defendant Class,

                     consisting of thousands of members, far too many to join in a single action;

                b.   Ascertainability. Members of the Defendant Class are easily identifiable.
                     Defendants have information regarding which stores sold N-0 Products

                     manufactured by Manufacturer Defendants to the public;

                c.   Typicality. Smoke Shop Defendantsdefenses are typical of Defendant Class'

                     defenses, as each arises from the same misconduct (selling N-0 Products to the

                     public).

                d.   Adequacy. Smoke Shop Defendants will fairly and adequately protect the

                     proposed Defendant Class's interests. Smoke Shop Defendants' interests do not

                     conflict with the Defendant Class's interests.




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                e.   Commonality. Smoke Shop Defendantsand Defendant Class' defenses raise

                     predominantly common        fact and legal questions that a class wide proceeding can

                     answer     for the Class. Indeed, it will be necessary to answer the following

                     question: Whether Smoke Shop Defendants and members of the Defendant Class

                     ought to be enjoined from selling N-0 Products through injunctive relief.


                                              CAUSES OF ACTION
                                        COUNT I    —
                                                       STRICT LIABILITY

                                 (On Behalf of Plaintiff and the Plaintiff Class)
   59.        Plaintiff realleges and incorporates the allegations contained in paragraphs 1-58 as if

   fully set forth below.

   60.        This claim is brought against Manufacturer Defendants.

   61.       At all times material to this action, Defendants were      responsible for designing,

   formulating, testing, importing, manufacturing, inspecting, packaging, marketing, distributing,

   supplying and/or selling N-0 Products to Plaintiff and Class Members.

   62.       As described herein, N-0 Products possessed a defect in design in that the volume in

   which N-0 Products were          sold was not practical for cooking but could cause, and did cause,

   substantial bodily harm and death to Plaintiff and Class Members.

   63.       N-0 Products, as designed, present an unreasonable risk of injury and substantial

   likelihood of harm to consumers         acting foreseeably and reasonably under the circumstances.

   64.        Specifically, N-0 Products are sold in large packages which are labelled and decorated

   so as to encourage     their use through inhalation, and distributed through smoke shops, to further

   facilitate their use   as   recreational drugs, rather than cooking utensils. This presents a mortal

   danger to consumers' health.




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   65.        Plaintiff and Class Members were not aware of the dangers associated with the use N-0

   Products. Plaintiffs and Class Membersinjuries occurred in a manner        that was reasonably

   foreseeable to Manufacture Defendants, and unforeseeable to Plaintiff and Class Members.

   66.     The defective design of N-0 Products, and their sale through smoke shops, was a

   substantial factor in causing injuries to Plaintiff and Class Members.

   67.     Manufacturer Defendants breached their duty to consumers     when they designed, marketed

   and sold N-0 Products in a way that was not reasonably safe.

   68.     Plaintiff and Class Members suffered the injuries alleged herein as a direct and proximate

   result of using N-0 Products, which were defective and unreasonably dangerous. Accordingly,

   Manufacturer Defendants are strictly liable to Plaintiff and Class Members.



         COUNT II   —
                        VIOLATION OF THE FLORIDA DECEPTIVE AND UNFAIR TRADE
                        PRACTICES ACT, Fla. Stat. § 501.201, et seq. ("FDUTPA")
                            (On Behalf of Plaintiff and the Florida Subclass)
            69.     Plaintiff realleges and incorporates the allegations contained in paragraphs 1-58 as

   if fully set forth below.

            70.     This claim is brought against Manufacturer Defendants only.

            71.     The FDUPTA prohibits "unfair methods of competition, unconscionable acts or

  practices, and unfair or deceptive acts or practices in the conduct of any trade or commerce

   hereby declared unlawful." Fla. Stat. § 501.204(1).

            72.     Fla. Stat. § 501.202 requires such claims under the FDUTPA be "construed


   liberally" by the courts "[t]o protect the consuming public and legitimate business enterprises

   from those who engage in unfair methods of competition, or unconscionable, deceptive, or unfair

   acts or practices in the conduct of any trade or commerce."




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             73.        Plaintiff is the estate of an "individual[s]," are "consumer[s]   as defined by the


   FDUTPA. See Fla. Stat. § 501.203(7).

             74.        Manufacturer Defendants offered, provided, or sold goods, namely, their N-0

   Products, in Florida and engaged in trade or commerce          directly or indirectly affecting the

   consuming public, within the meaning of the FDUTPA. See Fla. Stat. § 501.203.

             75.        Manufacturer Defendantsoffer, provision, and sale of goods at issue in this case

   are   "consumer transaction[s]" and Plaintiff and the Florida Subclass Members' purchases of N-0

   Products are the subject of those "consumer transactions." See Fla. Stat. § 501.212.

             76.        Plaintiff and Florida Subclass Members paid for or otherwise availed themselves

   and received goods, in the form of N-0 Products, from Manufacturer Defendants, primarily for

  personal purposes.

             77.        Manufacturer Defendants' acts and practices were done in the course of

   Manufacturer Defendants' business of offering legal services in Florida to residents of the United

   States.

             78.        The unfair, unconscionable, and unlawful acts and practices of Manufacturer

   Defendants alleged herein, and in particular, the sale and marketing of its N-0 Products,

   emanated and arose within the State of Florida, within the scope of the FDUTPA.

             79.        Manufacturer Defendants engaged in unfair, unconscionable, and unlawful trade

   acts or practices in the conduct of trade or commerce, in violation of Fla. Stat. § 501.204(1),


   including but not limited to the following:

                   a.   Failing to adequately inform consumers    that its N-0 Products (i) were highly

                        addictive; (ii) contained higher doses of nitrous oxide than deemed medically

                        safe; and (iii) posed unreasonable risks of substantial bodily injury and death;




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                 b.   Marketing its N-0 Products to minors;

                 c.   Misbranding and adulterating N-0 Products as food products when they are in

                      fact addictive drugs sold for inhalation;

                 d.   Selling N-0 Products in large canisters, rendering them unfit for human use; and

                 e.   Marketing and distributing its N-0 Products through smoke shops.

           80.        Accordingly, Plaintiff and Class Members are entitled to damages from

   Manufacturer Defendants, pursuant to FDUTPA.


                                   COUNT III     —
                                                     UNJUST ENRICHMENT

                               (On Behalf of Plaintiff and the Plaintiff Class)
           81.        Plaintiff realleges and incorporates the allegations contained in paragraphs 1-58 as

   if fully set forth below.

           82.        Plaintiff pleads this claim separately and in the alternative to its other claims, as

   without such claims they would have no adequate legal remedy.

           83.        This claim is brought against Manufacturer Defendants.

           84.        Manufacturer Defendants created and implemented a scheme to create a market

   for N-0 Products and substantially increase sales of their N-0 Products through a pervasive

  pattern of false and misleading statements and omissions. Manufacturer Defendantsplan was to

  portray N-0 Products as cool and safe, with a particular emphasis on appealing to minors, while

   misrepresenting or omitting key facts concerning N-0 Products' addictiveness, and significant

   risks of substantial physical injury and death from using these products.

           85.        Manufacturer Defendants were unjustly enriched as a result of their wrongful

   conduct, including through the false and misleading advertisements and omissions, including on

   social media, regarding the facts that N-0 Products: (i) were highly addictive; (ii) contained




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  higher doses of nitrous oxide than deemed medically safe; and (iii) posed unreasonable risks of

   substantial bodily injury and death.

           86.     Manufacturer Defendants were also unjustly enriched through their scheme of

   marketing its N-0 Products to minors.

           87.     Manufacturer Defendants requested and received a measurable benefit at the

   expense of Plaintiff and Class Members in the form of payment for Manufacturer DefendantsN-

   0 Products.

           88.     Manufacturer Defendants appreciated, recognized, and chose to accept the

   monetary benefits Plaintiff and Class Members conferred onto them, to Plaintiff's and Class

   Members' detriment. These benefits were the expected result of Manufacturer Defendants acting

   in their pecuniary interest at the expense of their customers.

           89.     There is no justification for Manufacturer Defendants' enrichment. It would be

   inequitable, unconscionable, and unjust for Manufacturer Defendants to be permitted to retain

   these benefits because the benefits were procured as a result of their wrongful conduct.

           90.     Plaintiff and Class Members are entitled to restitution of the benefits

   Manufacturer Defendants unjustly retained and/or any amounts necessary to return Plaintiff and

   Class Members to the position they occupied prior to dealing with Manufacturer Defendants.


                    COUNT IV     —
                                     DECLARATORY         AND INJUNCTIVE       RELIEF

                 (On Behalf of Plaintiff and the Class, as against Smoke Shop Class)
           91.     Plaintiff realleges and incorporates the allegations contained in paragraphs 1-58 as

   if fully set forth below.

           92.     This claim is asserted against Smoke Shop Defendants and the putative Smoke

   Shop Class only.




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             93.         Members of the putative Smoke Shop Class sell N-0 Products which, as detailed

   above, sell N-0 Products on their premises, despite these products posing an immediate and

   severe    risk to the public.

             94.         There is no lawful justification for selling N-0 Products, which are ostensibly

   cooking accessories, at smoke shops. Sales at smoke shops are unequivocally aimed at

   consumers       who will use N-0 Products for inhalation, will get addicted, and suffer severe

  physical harm or death.

             95.         Accordingly, Plaintiff seeks an Order to preliminarily and permanently enjoin

   members of the putative Smoke Shop Class from selling N-0 Products on their premises or

   online.


                                             PRAYER FOR RELIEF

             96.         WHEREFORE Plaintiff, individually and on behalf of all others similarly situated,

   demands a jury trial on all claims so triable, and requests the following relief:

                   a.    An Order certifying this action as a class action and appointing Plaintiff as Class

                         representative, and the undersigned as Class Counsel;

                   b.    An Order certifying the Smoke Shop Class as a defendant class, and appointing

                         Smoke Shop Defendants as Defendant Class representatives;

                   c.    A mandatory injunction prohibiting members of the Defendant Class from selling

                        N-0 Products on their premises or online;

                   d.    An award of damages, including actual, nominal, consequential, and punitive

                         damages, as allowed by law in an amount to be determined, as against Manufacturer

                         Defendants;

                   e.   An award of attorneysfees, costs, and litigation expenses, as allowed by law;




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             f.   An award of pre- and post-judgment interest, costs, attorneysfees, expenses, and

                   interest as permitted by law;

             g.   Granting the Plaintiff and Class Members leave to amend this Complaint to conform

                   to the evidence produced at trial;

             h.    For all other Orders, findings, and determinations identified and sought in this

                   Complaint; and

             i.    Such other and further relief as this court may deem just and proper.

   Dated: February 6, 2025                         Respectfully Submitted,
                                                   /s/    John A. Yanchunis

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